       Case 1:17-cv-02989-AT Document 892-12 Filed 09/14/20 Page 1 of 2


From:            Harvey Chris
To:              Scott Tucker; Tom Feehan; Gabriel Sterling
Subject:         [EXTERNAL] RN: UNABLE TO VOTE AT PRECINCT DUE TO MACHINE MALFUNCTIONS
Date:            Tuesday, June 9, 2020 8:54:16 AM


From Cobb


Chris Harvey.
Elections Director
Georgia Secretary of State


Main 470-312-2777
Cell 404-985-6351




From: Eveler, Janine <Janine.Eveler@cobbcounty.org>
Sent: Tuesday, June 9, 2020 8:41 AM
To: Harvey, Chris <wharvey@sos.ga.gov>
Subject: RE: UNABLE TO VOTE AT PRECINCT DUE TO MACHINE MALFUNCTIONS


 EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the
 sender and know the content is safe.
Just spoke to them they are using paper ballots. She's looking at the activation code
procedure. Cards are encoding but not reading at BMD. Lots of places.

Janine Dueler
Director,
Cobb County Elections & Registration
770-528-2312
770-528-2519 Fax
678-315-0439 Cell
www.CobbElections,org

Register,,.then Vote!


From: Harvey, Chris [nail ):\A/ha rvey(disr s,i.a.gov]
Sent: Tuesday, June 9, 2020 8:39 AM
To: Eveler, Janine Klanine.Eveler@cobbcounty.or2>
Subject: FW: UNABLE TO VOTE AT PRECINCT DUE TO MACHINE MALFUNCTIONS
                                                                                           PLAINTIFF EXHIBIT


County: Cobb —Ron Anderson Center                                                                40
                                                                                              1:17-cv-02989



                                                                                         Dominion043404


                                 Plaintiff Exhibit 40        p. 1 of 2
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Chris Harvey
Elections Director
Georgia Secretary of State


Main 470-312-2777
Cell 404-985-6351




From: managementescalationissues
Sent: Tuesday, June 9, 2020 8:26 AM
To: Combs, Leigh < ombsasos.oa ov>., Harvey, Chris <wharvewkDsos              Gov>
Cc: Everett, Crystal <iceverett@sos.ga.gov>; Taylor, Elizabeth <eta! oi-(Fosos.ga.gov>
Subject: UNABLE TO VOTE AT PRECINCT DUE TO MACHINE MALFUNCTIONS


Good morning,



Caller: Kenneth Tinsley
Tel 678-570-3864
E mail : N/A
Nature of call: Caller states they are not allowing anyone to vote right now because their machines
a re down and the machines are not taking any voter cards correctly. Caller is upset and requesting to
speak with someone ASAP.
County: Cobb —Ron Anderson Center




Tasheena. Lockett
Customer Service Team Lead
Georgic, Secretory of State
844-753-7825
470-355-4569




CAUTION: TiffiemaiLoriginateitoutgideo lteiCounty Governrnent. Please exercise caution whemopentn   .
links/attachments in this email




                                                                                                Dominion043405


                                  Plaintiff Exhibit 40        p. 2 of 2
